              Case 24-50893-RMM                     Doc 1       Filed 06/21/24 Entered 06/21/24 16:42:52                                Desc Main
                                                               Document      Page 1 of 77

Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF GEORGIA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to
distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be
Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Howard                                                          Isled
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                     Middle name
     Bring your picture            Pena                                                            Pena
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.


2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names
     and doing business as
     names.
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0369                                                     xxx-xx-3252
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
             Case 24-50893-RMM                   Doc 1       Filed 06/21/24 Entered 06/21/24 16:42:52                              Desc Main
                                                            Document      Page 2 of 77
Debtor 1   Howard Pena
Debtor 2   Isled Pena                                                                                Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 251 Pettigrew Rd, NW
                                 Milledgeville, GA 31061
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Baldwin
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this                      Over the last 180 days before filing this petition, I
                                       petition, I have lived in this district longer than            have lived in this district longer than in any other
                                       in any other district.                                         district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
              Case 24-50893-RMM                   Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                Desc Main
                                                              Document      Page 3 of 77
Debtor 1    Howard Pena
Debtor 2    Isled Pena                                                                                   Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                         that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                         out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                 When                             Case number
                                              District                                 When                             Case number
                                              District                                 When                             Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
             Case 24-50893-RMM                    Doc 1         Filed 06/21/24 Entered 06/21/24 16:42:52                            Desc Main
                                                               Document      Page 4 of 77
Debtor 1    Howard Pena
Debtor 2    Isled Pena                                                                                    Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    debtor or a debtor as          U.S.C. § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small                  I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11           No.
                                               Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code,
                                               and I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
              Case 24-50893-RMM                     Doc 1       Filed 06/21/24 Entered 06/21/24 16:42:52                             Desc Main
                                                               Document      Page 5 of 77
Debtor 1    Howard Pena
Debtor 2    Isled Pena                                                                                 Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to         a certificate of completion.                                  certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                               I reasonably tried to do so.                                 do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 5
             Case 24-50893-RMM                   Doc 1       Filed 06/21/24 Entered 06/21/24 16:42:52                                  Desc Main
                                                            Document      Page 6 of 77
Debtor 1    Howard Pena
Debtor 2    Isled Pena                                                                                   Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
     after any exempt                      expenses are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                            1,000-5,000                                 25,001-50,000
    you estimate that you                                                           5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                              $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
                                 1519, and 3571.
                                 /s/ Howard Pena                                                  /s/ Isled Pena
                                 Howard Pena                                                      Isled Pena
                                 Signature of Debtor 1                                            Signature of Debtor 2

                                 Executed on     June 21, 2024                                    Executed on     June 21, 2024
                                                 MM / DD / YYYY                                                   MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
             Case 24-50893-RMM                       Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                            Desc Main
                                                                 Document      Page 7 of 77
Debtor 1   Howard Pena
Debtor 2   Isled Pena                                                                                     Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                /s/ Michael F. Burrow                                              Date         June 21, 2024
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Michael F. Burrow 317998
                                Printed name

                                Burrow & Associates, LLC
                                Firm name

                                2280 Satellite Blvd.
                                Bldg. A, Suite 100
                                Duluth, GA 30097
                                Number, Street, City, State & ZIP Code

                                Contact phone     678-942-8640                               Email address         bankruptcy@legalatlanta.com
                                317998 GA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
             Case 24-50893-RMM                   Doc 1       Filed 06/21/24 Entered 06/21/24 16:42:52                                   Desc Main
                                                            Document      Page 8 of 77



Fill in this information to identify your case:

Debtor 1                 Howard Pena
                         First Name                  Middle Name                   Last Name

Debtor 2                 Isled Pena
(Spouse if, filing)      First Name                  Middle Name                   Last Name

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

             Married
             Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                         Dates Debtor 1               Debtor 2 Prior Address:                               Dates Debtor 2
                                                         lived there                                                                        lived there
       12529 Chenwood Ave                                From-To:                         Same as Debtor 1                                     Same as Debtor 1
       Hudson, FL 34669                                  1/2015-12/2022                                                                     From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                              Debtor 1                                                       Debtor 2
                                              Sources of income               Gross income                   Sources of income              Gross income
                                              Check all that apply.           (before deductions and         Check all that apply.          (before deductions
                                                                              exclusions)                                                   and exclusions)
From January 1 of current year until             Wages, commissions,                      $24,109.62            Wages, commissions,                $19,786.00
the date you filed for bankruptcy:                                                                           bonuses, tips
                                              bonuses, tips
                                                 Operating a business                                            Operating a business

Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1
          Case 24-50893-RMM                        Doc 1       Filed 06/21/24 Entered 06/21/24 16:42:52                                   Desc Main
                                                              Document      Page 9 of 77
Debtor 1      Howard Pena
Debtor 2      Isled Pena                                                                                Case number (if known)


                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income             Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                                exclusions)                                                  and exclusions)

For last calendar year:                            Wages, commissions,                      $30,160.60            Wages, commissions,              $17,413.00
(January 1 to December 31, 2023 )                                                                              bonuses, tips
                                                bonuses, tips
                                                   Operating a business                                            Operating a business


                                                   Wages, commissions,                      $15,432.00            Wages, commissions,                       $0.00
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                            Operating a business


For the calendar year before that:                 Wages, commissions,                     $170,143.00            Wages, commissions,              $18,679.00
(January 1 to December 31, 2022 )               bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                            Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income             Gross income
                                                Describe below.                 each source                    Describe below.               (before deductions
                                                                                (before deductions and                                       and exclusions)
                                                                                exclusions)

Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                                an attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                 paid            still owe




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
          Case 24-50893-RMM                       Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                                     Desc Main
                                                            Document     Page 10 of 77
Debtor 1      Howard Pena
Debtor 2      Isled Pena                                                                               Case number (if known)


      Creditor's Name and Address                         Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                paid            still owe
      Bridgecrest Acceptance Corp                         3/2024 - 669.00                  $2,007.00           $33,061.00         Mortgage
      7300 East Hampton Avenue                            4/2024 - 669.00                                                         Car
      Suite 100                                           05/2024 - 669.00
                                                                                                                                  Credit Card
      Mesa, AZ 85209
                                                                                                                                  Loan Repayment
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Other

      Cardinal Financial Company                          03/2024                          $8,362.00         $367,283.00          Mortgage
      1 Corporate Drive                                   04/2024                                                                 Car
      Suite 360                                           05/2024
                                                                                                                                  Credit Card
      Milledgeville, GA 31061
                                                                                                                                  Loan Repayment
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Other

      Sheffield Financial                                 02/2024                            $918.66           $11,526.00         Mortgage
      PO Box 580229                                       03/2024                                                                 Car
      Charlotte, NC 28258-0229                            04/2024                                                                 Credit Card
                                                                                                                                  Loan Repayment
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Other 2022 C-force Side
                                                                                                                                by Side

      Stellantis Financial Srvs                           04/2024                            $717.54           $59,328.00         Mortgage
      Attn: Bankruptcy                                    05/2024                                                                 Car
      3065 Akers Mill Rd Se, Ste 700
                                                                                                                                  Credit Card
      Atlanta, GA 30339
                                                                                                                                  Loan Repayment
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Other


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
     including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
     support and alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                paid            still owe       Include creditor's name




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
          Case 24-50893-RMM                          Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                                     Desc Main
                                                               Document     Page 11 of 77
Debtor 1      Howard Pena
Debtor 2      Isled Pena                                                                                  Case number (if known)


Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                             Nature of the case           Court or agency                          Status of the case
      Case number
      Midland Credit Management, Inc.                                                     Magistrate Court of                         Pending
      as assignee of Comenity Bank                                                        Baldwin County                              On appeal
      vs Isled Pena                                                                       121 N Wilkinson St,
                                                                                                                                      Concluded
      2024-99CC                                                                           Suite #109
                                                                                          Milledgeville, GA 31061


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was                 Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                  Describe the gifts                                        Dates you gave                    Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total              Describe what you contributed                             Dates you                         Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4
          Case 24-50893-RMM                  Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                                      Desc Main
                                                       Document     Page 12 of 77
Debtor 1      Howard Pena
Debtor 2      Isled Pena                                                                          Case number (if known)


Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and          Describe any insurance coverage for the loss                      Date of your         Value of property
      how the loss occurred                       Include the amount that insurance has paid. List                  loss                              lost
                                                  pending insurance claims on line 33 of Schedule A/B:
                                                  Property.

Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                 Description and value of any property                     Date payment               Amount of
      Address                                             transferred                                               or transfer was             payment
      Email or website address                                                                                      made
      Person Who Made the Payment, if Not You
      Burrow & Associates, LLC                            $338.00 Chapter 7 Filing Fee                              2/5/2024                     $726.00
      2280 Satellite Blvd.                                $20.00 Credit Counseling Fee
      Bldg. A, Suite 100                                  $68.00 Credit Report
      Duluth, GA 30097                                    $300.00 Attorney fees


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                 Description and value of any property                     Date payment               Amount of
      Address                                             transferred                                               or transfer was             payment
                                                                                                                    made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
           Yes. Fill in the details.
      Person Who Received Transfer                        Description and value of                    Describe any property or          Date transfer was
      Address                                             property transferred                        payments received or debts        made
                                                                                                      paid in exchange
      Person's relationship to you
      Mikhail Karyakin                                    12529 Chenwood Avenue,                      Sold for $400,000.00              December 12,
      12529 Chenwood Avenue                               Hudson, Florida 34669                       Net at closing                    2022
      Hudson, FL 34669                                                                                $177,957.44

      NONE




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
           Case 24-50893-RMM                         Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                                 Desc Main
                                                               Document     Page 13 of 77
Debtor 1      Howard Pena
Debtor 2      Isled Pena                                                                                  Case number (if known)


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                               Description and value of the property transferred                        Date Transfer was
                                                                                                                                           made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of              Type of account or         Date account was          Last balance
      Address (Number, Street, City, State and ZIP           account number                instrument                 closed, sold,         before closing or
      Code)                                                                                                           moved, or                      transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                               Who else had access to it?              Describe the contents              Do you still
      Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City,                                             have it?
                                                                  State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                    Who else has or had access              Describe the contents              Do you still
      Address (Number, Street, City, State and ZIP Code)          to it?                                                                     have it?
                                                                  Address (Number, Street, City,
                                                                  State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                Where is the property?                  Describe the property                         Value
      Address (Number, Street, City, State and ZIP Code)          (Number, Street, City, State and ZIP
                                                                  Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
           Case 24-50893-RMM                       Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                                    Desc Main
                                                             Document     Page 14 of 77
Debtor 1      Howard Pena
Debtor 2      Isled Pena                                                                                   Case number (if known)


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                              Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)        Address (Number, Street, City, State and      know it
                                                                ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                              Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)        Address (Number, Street, City, State and      know it
                                                                ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                Court or agency                            Nature of the case                   Status of the
      Case Number                                               Name                                                                            case
                                                                Address (Number, Street, City,
                                                                State and ZIP Code)

Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business                  Employer Identification number
      Address                                                                                                   Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                Dates business existed
      Howard Pena LLC                                      Real Estate Broker                                   EIN:       8917
      251 Pettigrew Rd NW
      Milledgeville, GA 31061                                                                                   From-To    1/2007-Present (Nothing since
                                                                                                                           March 2023)

      Isled Pena                                           Property Managment                                   EIN:       3252
      aka NextHome on the Lake
      1051 Village Park Dr Suite 202                                                                            From-To    1/2019-Present
      Greensboro, GA 30642


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
      Name                                                 Date Issued
      Address
      (Number, Street, City, State and ZIP Code)




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
           Case 24-50893-RMM               Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                               Desc Main
                                                     Document     Page 15 of 77
Debtor 1      Howard Pena
Debtor 2      Isled Pena                                                                        Case number (if known)


Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Howard Pena                                             /s/ Isled Pena
Howard Pena                                                 Isled Pena
Signature of Debtor 1                                       Signature of Debtor 2

Date     June 21, 2024                                      Date      June 21, 2024

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 8
              Case 24-50893-RMM                               Doc 1       Filed 06/21/24 Entered 06/21/24 16:42:52                                      Desc Main
                                                                         Document     Page 16 of 77
Fill in this information to identify your case and this filing:

Debtor 1                    Howard Pena
                            First Name                             Middle Name                     Last Name

Debtor 2                    Isled Pena
(Spouse, if filing)         First Name                             Middle Name                     Last Name

United States Bankruptcy Court for the:                     MIDDLE DISTRICT OF GEORGIA

Case number                                                                                                                                                  Check if this is an
                                                                                                                                                             amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                        What is the property? Check all that apply
       251 Pettigrew Road NW                                                      Single-family home                          Do not deduct secured claims or exemptions. Put the
       Street address, if available, or other description                                                                     amount of any secured claims on Schedule D:
                                                                                  Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                                  Condominium or cooperative

                                                                                  Manufactured or mobile home
                                                                                                                              Current value of the       Current value of the
       Milledgeville                     GA        31061-0000                     Land                                        entire property?           portion you own?
       City                              State          ZIP Code                  Investment property                                $402,100.00                 $402,100.00
                                                                                  Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                                  Other                                       (such as fee simple, tenancy by the entireties, or
                                                                           Who has an interest in the property? Check one     a life estate), if known.
                                                                                  Debtor 1 only
       Baldwin                                                                    Debtor 2 only
       County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                  At least one of the debtors and another          (see instructions)
                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number:

                                                                           10% Liquidation Deduction $40,210.00




Official Form 106A/B                                                             Schedule A/B: Property                                                                    page 1
               Case 24-50893-RMM                             Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                                           Desc Main
                                                                       Document     Page 17 of 77
Debtor 1           Howard Pena
Debtor 2           Isled Pena                                                                                              Case number (if known)

        If you own or have more than one, list here:
1.2                                                                      What is the property? Check all that apply
        Parcel No. 71203300                                                      Single-family home                              Do not deduct secured claims or exemptions. Put the
        Cavalry Trail                                                            Duplex or multi-unit building
                                                                                                                                 amount of any secured claims on Schedule D:
        Street address, if available, or other description                                                                       Creditors Who Have Claims Secured by Property.
                                                                                 Condominium or cooperative

                                                                                 Manufactured or mobile home
                                                                                                                                 Current value of the       Current value of the
        Pueblo                           CO         81001-0000                   Land                                            entire property?           portion you own?
        City                             State           ZIP Code                Investment property                                        $6,450.00                  $6,450.00
                                                                                 Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                 Other                                           (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one          a life estate), if known.
                                                                                 Debtor 1 only
        Costilla                                                                 Debtor 2 only
        County                                                                   Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                 At least one of the debtors and another              (see instructions)
                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:

                                                                         W.H.M. Section B BLK 12 Lots 16 & 17 0
                                                                         2.53 acres


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                       $408,550.00


Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:        Ram                                          Who has an interest in the property? Check one                Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
          Model:       1500                                            Debtor 1 only                                              Creditors Who Have Claims Secured by Property.
          Year:        2022                                            Debtor 2 only
                                                                                                                                  Current value of the      Current value of the
          Approximate mileage:                        35000            Debtor 1 and Debtor 2 only                                 entire property?          portion you own?
          Other information:                                           At least one of the debtors and another


                                                                       Check if this is community property                                $39,250.00                  $39,250.00
                                                                       (see instructions)



  3.2     Make:        Mercedes-Benz                                Who has an interest in the property? Check one                Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
          Model:       GLC 300                                         Debtor 1 only                                              Creditors Who Have Claims Secured by Property.
          Year:        2019                                            Debtor 2 only
                                                                                                                                  Current value of the      Current value of the
          Approximate mileage:                        33000            Debtor 1 and Debtor 2 only                                 entire property?          portion you own?
          Other information:                                           At least one of the debtors and another


                                                                       Check if this is community property                                $20,450.00                  $20,450.00
                                                                       (see instructions)




Official Form 106A/B                                                         Schedule A/B: Property                                                                           page 2
             Case 24-50893-RMM                      Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                         Desc Main
                                                                Document     Page 18 of 77
Debtor 1          Howard Pena
Debtor 2          Isled Pena                                                                                     Case number (if known)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:      CForce 800 XC Moto                     Who has an interest in the property? Check one
                                                                                                                          Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:
         Model:     Side by Side                               Debtor 1 only                                              Creditors Who Have Claims Secured by Property.
         Year:      2022                                       Debtor 2 only
                                                                                                                          Current value of the      Current value of the
                                                               Debtor 1 and Debtor 2 only                                 entire property?          portion you own?
         Other information:                                    At least one of the debtors and another
                                                               Check if this is community property                                 $5,975.00                   $5,975.00
         Off Road Utility Vehicle                              (see instructions)




5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>              $65,675.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                  Household Goods and furnishings                                                                                               $2,000.00


                                  Handheld Tools                                                                                                                  $200.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                  TV and Cell Phones                                                                                                            $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....




Official Form 106A/B                                                 Schedule A/B: Property                                                                           page 3
          Case 24-50893-RMM                                     Doc 1           Filed 06/21/24 Entered 06/21/24 16:42:52                             Desc Main
                                                                               Document     Page 19 of 77
Debtor 1        Howard Pena
Debtor 2        Isled Pena                                                                                                  Case number (if known)


                                         Firearms                                                                                                                  $500.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                         Used Clothing                                                                                                             $400.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                         Jewelry                                                                                                                   $300.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
      Yes. Describe.....

                                         Two Dogs                                                                                                                   $50.00


14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                         $4,450.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                   Institution name:


                                           17.1.       Checking                              MidFlorida Bank                                                         $0.00



                                           17.2.       Checking                              Chase Bank                                                             $10.00



                                           17.3.       Checking                              Truist Bank                                                         $2,332.00

Official Form 106A/B                                                                  Schedule A/B: Property                                                          page 4
         Case 24-50893-RMM                              Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                              Desc Main
                                                                  Document     Page 20 of 77
Debtor 1       Howard Pena
Debtor 2       Isled Pena                                                                                       Case number (if known)



                                        17.4.    Savings                      Chase                                                                  $0.00



                                        17.5.    Checking                     Chase                                                                  $0.00



                                        17.6.    Savings                      MidFlorida Bank                                                        $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
     No
      Yes. Give specific information about them...................
                                Name of entity:                                                                  % of ownership:

                                          Howard Pena LLC                                                                          %                 $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                                Institution name:

                                        401(k)                                Retirement through Employment                                          $0.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...




Official Form 106A/B                                                  Schedule A/B: Property                                                         page 5
           Case 24-50893-RMM                               Doc 1         Filed 06/21/24 Entered 06/21/24 16:42:52                                             Desc Main
                                                                        Document     Page 21 of 77
Debtor 1        Howard Pena
Debtor 2        Isled Pena                                                                                                      Case number (if known)

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

Money or property owed to you?                                                                                                                                Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

28. Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                                       Beneficiary:                               Surrender or refund
                                                                                                                                                               value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................            $2,342.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

Official Form 106A/B                                                          Schedule A/B: Property                                                                           page 6
           Case 24-50893-RMM                                Doc 1          Filed 06/21/24 Entered 06/21/24 16:42:52                                              Desc Main
                                                                          Document     Page 22 of 77
Debtor 1         Howard Pena
Debtor 2         Isled Pena                                                                                                        Case number (if known)


37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.



Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                  $0.00

Part 8:        List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ......................................................................................................................          $408,550.00
56. Part 2: Total vehicles, line 5                                                                        $65,675.00
57. Part 3: Total personal and household items, line 15                                                    $4,450.00
58. Part 4: Total financial assets, line 36                                                                $2,342.00
59. Part 5: Total business-related property, line 45                                                           $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                  $0.00
61. Part 7: Total other property not listed, line 54                                          +                $0.00

62. Total personal property. Add lines 56 through 61...                                                   $72,467.00              Copy personal property total         $72,467.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $481,017.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                       page 7
             Case 24-50893-RMM                       Doc 1    Filed 06/21/24 Entered 06/21/24 16:42:52                                Desc Main
                                                             Document     Page 23 of 77
Fill in this information to identify your case:

Debtor 1               Howard Pena
                       First Name                      Middle Name                 Last Name

Debtor 2               Isled Pena
(Spouse if, filing)    First Name                      Middle Name                 Last Name

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                portion you own
                                                          Copy the value from    Check only one box for each exemption.
                                                          Schedule A/B

     251 Pettigrew Road NW Milledgeville,                     $402,100.00                                 $27,297.31      11 U.S.C. § 522(d)(1)
     GA 31061 Baldwin County
     Line from Schedule A/B: 1.1                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Parcel No. 71203300 Cavalry Trail                           $6,450.00                                  $6,450.00     11 U.S.C. § 522(d)(5)
     Pueblo, CO 81001 Costilla County
     W.H.M. Section B BLK 12 Lots 16 &                                                100% of fair market value, up to
     17 0                                                                             any applicable statutory limit
     2.53 acres
     Line from Schedule A/B: 1.2

     2019 Mercedes-Benz GLC 300 33000                           $20,450.00                                       $0.00    11 U.S.C. § 522(d)(2)
     miles
     Line from Schedule A/B: 3.2                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Household Goods and furnishings                             $2,000.00                                  $2,000.00     11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 6.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit




Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                    page 1 of 3
           Case 24-50893-RMM                        Doc 1    Filed 06/21/24 Entered 06/21/24 16:42:52                                   Desc Main
                                                            Document     Page 24 of 77
Debtor 1   Howard Pena
Debtor 2   Isled Pena                                                                              Case number (if known)

    Brief description of the property and line on        Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property                portion you own
                                                         Copy the value from    Check only one box for each exemption.
                                                         Schedule A/B

    Handheld Tools                                                 $200.00                                   $200.00        11 U.S.C. § 522(d)(3)
    Line from Schedule A/B: 6.2
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    TV and Cell Phones                                          $1,000.00                                  $1,000.00        11 U.S.C. § 522(d)(3)
    Line from Schedule A/B: 7.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Firearms                                                       $500.00                                   $500.00        11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 10.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Used Clothing                                                  $400.00                                   $400.00        11 U.S.C. § 522(d)(3)
    Line from Schedule A/B: 11.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Jewelry                                                        $300.00                                   $300.00        11 U.S.C. § 522(d)(4)
    Line from Schedule A/B: 12.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Two Dogs                                                        $50.00                                     $50.00       11 U.S.C. § 522(d)(3)
    Line from Schedule A/B: 13.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Checking: MidFlorida Bank                                         $0.00                                     $0.00       11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.1
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Checking: Chase Bank                                            $10.00                                     $10.00       11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.2
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Checking: Truist Bank                                       $2,332.00                                  $2,332.00        11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.3
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Savings: Chase                                                    $0.00                                     $0.00       11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.4
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit

    Checking: Chase                                                   $0.00                                     $0.00       11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.5
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit




Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                                       page 2 of 3
           Case 24-50893-RMM                        Doc 1    Filed 06/21/24 Entered 06/21/24 16:42:52                                   Desc Main
                                                            Document     Page 25 of 77
Debtor 1    Howard Pena
Debtor 2    Isled Pena                                                                             Case number (if known)

    Brief description of the property and line on        Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property                portion you own
                                                         Copy the value from    Check only one box for each exemption.
                                                         Schedule A/B

    Savings: MidFlorida Bank                                          $0.00                                     $0.00       11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.6
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                                       page 3 of 3
             Case 24-50893-RMM                        Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                          Desc Main
                                                                  Document     Page 26 of 77
Fill in this information to identify your case:

Debtor 1                   Howard Pena
                           First Name                      Middle Name                      Last Name

Debtor 2                   Isled Pena
(Spouse if, filing)        First Name                      Middle Name                      Last Name

United States Bankruptcy Court for the:             MIDDLE DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                                          Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                              Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for
each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much     Amount of claim        Value of collateral     Unsecured
as possible, list the claims in alphabetical order according to the creditor’s name.                          Do not deduct the      that supports this      portion
                                                                                                              value of collateral.   claim                   If any
        Bridgecrest Acceptance
2.1                                              Describe the property that secures the claim:                    $33,061.00               $20,450.00          $12,611.00
        Corp
        Creditor's Name                          2019 Mercedes-Benz GLC 300 33000
        7300 East Hampton                        miles
        Avenue
                                                 As of the date you file, the claim is: Check all that
        Suite 100                                apply.
        Mesa, AZ 85209                               Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)
      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another         Judgment lien from a lawsuit
    Check if this claim relates to a                Other (including a right to offset)
    community debt

                                Opened
                                10/23 Last
Date debt was incurred          Active 01/24              Last 4 digits of account number        3101




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                         page 1 of 5
           Case 24-50893-RMM                             Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                               Desc Main
                                                                     Document     Page 27 of 77
Debtor 1 Howard Pena                                                                                         Case number (if known)
              First Name                  Middle Name                       Last Name
Debtor 2 Isled Pena
              First Name                  Middle Name                       Last Name


        Cardinal Finance
2.2                                                Describe the property that secures the claim:                   $282,313.00        $402,100.00        $0.00
        Co/Dovenmuehle Mtg
        Creditor's Name                            251 Pettigrew Road NW
                                                   Milledgeville, GA 31061
        Attn: Bankruptcy
                                                   As of the date you file, the claim is: Check all that
        1 Corporate Dr. Ste 360                    apply.
        Lake Zurich, IL 60047                           Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)
   Debtor 1 and Debtor 2 only                           Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
   Check if this claim relates to a                     Other (including a right to offset)
   community debt

                                Opened
                                12/22 Last
Date debt was incurred          Active 12/23                Last 4 digits of account number         1770


2.3     Internal Revenue Service                   Describe the property that secures the claim:                    $22,097.00        $402,100.00        $0.00
        Creditor's Name                            251 Pettigrew Road NW
        401 W. Peachtree Street,                   Milledgeville, GA 31061 Baldwin
        NW                                         County
                                                   As of the date you file, the claim is: Check all that
        Stop 334-D, Room 400                       apply.
        Atlanta, GA 30308                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
   Check if this claim relates to a                     Other (including a right to offset)
   community debt

Date debt was incurred          6/11/2024                   Last 4 digits of account number         8924




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 5
           Case 24-50893-RMM                             Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                               Desc Main
                                                                     Document     Page 28 of 77
Debtor 1 Howard Pena                                                                                         Case number (if known)
              First Name                  Middle Name                       Last Name
Debtor 2 Isled Pena
              First Name                  Middle Name                       Last Name


2.4     Internal Revenue Service                   Describe the property that secures the claim:                      $7,944.00       $402,100.00        $0.00
        Creditor's Name                            251 Pettigrew Road NW
        401 W. Peachtree Street,                   Milledgeville, GA 31061 Baldwin
        NW                                         County
                                                   As of the date you file, the claim is: Check all that
        Stop 334-D, Room 400                       apply.
        Atlanta, GA 30308                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
   Check if this claim relates to a                     Other (including a right to offset)
   community debt

Date debt was incurred          6/11/2024                   Last 4 digits of account number         8824

        Midland Credit
2.5                                                Describe the property that secures the claim:                        $853.00       $402,100.00        $0.00
        Management, Inc
        Creditor's Name                            251 Pettigrew Road NW
                                                   Milledgeville, GA 31061
        AAO Comenity Bank
                                                   As of the date you file, the claim is: Check all that
        Po Box 939069                              apply.
        San Diego, CA 92193                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
   Debtor 1 and Debtor 2 only                           Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
   Check if this claim relates to a                     Other (including a right to offset)
   community debt

                                Opened
                                03/21 Last
Date debt was incurred          Active 11/20                Last 4 digits of account number         0080




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3 of 5
           Case 24-50893-RMM                             Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                              Desc Main
                                                                     Document     Page 29 of 77
Debtor 1 Howard Pena                                                                                         Case number (if known)
              First Name                  Middle Name                       Last Name
Debtor 2 Isled Pena
              First Name                  Middle Name                       Last Name


2.6     Sheffield Financial                        Describe the property that secures the claim:                    $11,526.00         $5,975.00    $5,551.00
        Creditor's Name                            2022 CForce 800 XC Moto Side by
                                                   Side
        Attn: Bankruptcy                           Off Road Utility Vehicle
                                                   As of the date you file, the claim is: Check all that
        214 N Tryon St                             apply.
        Charlotte, NC 28202                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)
   Debtor 1 and Debtor 2 only                           Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
   Check if this claim relates to a                     Other (including a right to offset)
   community debt

                                Opened
                                12/22 Last
Date debt was incurred          Active 01/24                Last 4 digits of account number         5804


2.7     Stellantis Financial Srvs                  Describe the property that secures the claim:                    $59,328.00        $39,250.00   $20,078.00
        Creditor's Name                            2022 Ram 1500 35000 miles
        Attn: Bankruptcy
        3065 Akers Mill Rd Se,
                                                   As of the date you file, the claim is: Check all that
        Ste 700                                    apply.
        Atlanta, GA 30339                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
   Check if this claim relates to a                     Other (including a right to offset)
   community debt

                                Opened
                                01/23 Last
Date debt was incurred          Active 01/24                Last 4 digits of account number         0001




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 4 of 5
           Case 24-50893-RMM                             Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                  Desc Main
                                                                     Document     Page 30 of 77
Debtor 1 Howard Pena                                                                                         Case number (if known)
              First Name                  Middle Name                       Last Name
Debtor 2 Isled Pena
              First Name                  Middle Name                       Last Name


        United States
2.8                                                Describe the property that secures the claim:                    $92,489.69           $402,100.00                $0.00
        Department of Housing
        Creditor's Name                            251 Pettigrew Road NW
                                                   Milledgeville, GA 31061 Baldwin
        & Urban Development                        County
                                                   As of the date you file, the claim is: Check all that
        451 7th Street, S.W.                       apply.
        Washington, DC 20410                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
   Check if this claim relates to a                     Other (including a right to offset)
   community debt

Date debt was incurred                                      Last 4 digits of account number



  Add the dollar value of your entries in Column A on this page. Write that number here:                                   $509,611.69
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                  $509,611.69

Part 2: List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                             page 5 of 5
             Case 24-50893-RMM                          Doc 1       Filed 06/21/24 Entered 06/21/24 16:42:52                                            Desc Main
                                                                   Document     Page 31 of 77
Fill in this information to identify your case:

Debtor 1                     Howard Pena
                             First Name                     Middle Name                       Last Name

Debtor 2                     Isled Pena
(Spouse if, filing)          First Name                     Middle Name                       Last Name

United States Bankruptcy Court for the:                MIDDLE DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                                              Check if this is an
                                                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
      1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim           Priority            Nonpriority
                                                                                                                                             amount              amount
2.1          Georgia Department of Revenue                        Last 4 digits of account number                                    $0.00              $0.00                  $0.00
             Priority Creditor's Name
             Compliance Division                                  When was the debt incurred?
             ARCS Bankruptcy
             1800 Century Blvd. NE, Suite 9100
             Atlanta, GA 30345-3202
             Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                              Contingent
             Debtor 1 only                                            Unliquidated
             Debtor 2 only                                            Disputed
             Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

             At least one of the debtors and another                  Domestic support obligations

             Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
             No                                                       Other. Specify
             Yes                                                                        Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 10
                                                                                                               41891
           Case 24-50893-RMM                          Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                            Desc Main
                                                                  Document     Page 32 of 77
Debtor 1 Howard Pena
Debtor 2 Isled Pena                                                                                     Case number (if known)

2.2        Internal Revenue Service                              Last 4 digits of account number                        $40,000.00             $40,000.00                    $0.00
           Priority Creditor's Name
           P.O. Box 7346                                         When was the debt incurred?
           Philadelphia, PA 19101-7346
           Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                            Contingent
           Debtor 1 only                                            Unliquidated
           Debtor 2 only                                            Disputed
           Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

           At least one of the debtors and another                  Domestic support obligations

           Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                              Claims for death or personal injury while you were intoxicated
           No                                                       Other. Specify
           Yes                                                                         2021 and 2022


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured
      claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
      creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.
                                                                                                                                                          Total claim

4.1        Ally Financial, Inc                                      Last 4 digits of account number                                                                   $3,188.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                         When was the debt incurred?
           500 Woodard Ave
           Detroit, MI 48226
           Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                       Contingent
                Debtor 1 only
                                                                       Unliquidated
                Debtor 2 only
                                                                       Disputed
                Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
                At least one of the debtors and another                Student loans
                Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                          report as priority claims

                No                                                     Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                    Other. Specify    Account




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 2 of 10
          Case 24-50893-RMM                        Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                            Desc Main
                                                               Document     Page 33 of 77
Debtor 1 Howard Pena
Debtor 2 Isled Pena                                                                                  Case number (if known)

4.2       Amazon                                                 Last 4 digits of account number                                                           $4,798.00
          Nonpriority Creditor's Name
          202 Westlake Avenue                                    When was the debt incurred?
          Seattle, WA 98109
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Account


4.3       Capital One                                            Last 4 digits of account number       2505                                                $2,006.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 03/23 Last Active
          Po Box 30285                                           When was the debt incurred?           02/24
          Salt Lake City, UT 84130
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.4       Cardinal Financial Company                             Last 4 digits of account number                                                          $10,597.29
          Nonpriority Creditor's Name
          1 Corporate Drive                                      When was the debt incurred?
          Suite 360
          Milledgeville, GA 31061
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Collections




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 10
          Case 24-50893-RMM                        Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                            Desc Main
                                                               Document     Page 34 of 77
Debtor 1 Howard Pena
Debtor 2 Isled Pena                                                                                  Case number (if known)

4.5       Chase Card Services                                    Last 4 digits of account number       8822                                               $4,799.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 06/22 Last Active
          P.O. 15298                                             When was the debt incurred?           2/14/24
          Wilmington, DE 19850
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.6       Coliseum Northside Hospital                            Last 4 digits of account number                                                            $791.25
          Nonpriority Creditor's Name
          400 Charter Blvd                                       When was the debt incurred?           7/2023
          Macon, GA 31210
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify


4.7       Concora Credit / Destiny Card                          Last 4 digits of account number                                                            $880.10
          Nonpriority Creditor's Name
          P. O. Box 23030                                        When was the debt incurred?
          Columbus, GA 31902-3030
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 10
          Case 24-50893-RMM                        Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                            Desc Main
                                                               Document     Page 35 of 77
Debtor 1 Howard Pena
Debtor 2 Isled Pena                                                                                  Case number (if known)

4.8       Credit One Bank                                        Last 4 digits of account number       1243                                               $1,197.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                  Opened 01/22 Last Active
          6801 Cimarron Rd                                       When was the debt incurred?           02/24
          Las Vegas, NV 89113
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.9       Credit One Bank                                        Last 4 digits of account number       2578                                               $1,133.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                  Opened 04/19 Last Active
          6801 Cimarron Rd                                       When was the debt incurred?           1/28/24
          Las Vegas, NV 89113
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.10      Credit One Bank                                        Last 4 digits of account number       0319                                                 $816.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                  Opened 05/23 Last Active
          6801 Cimarron Rd                                       When was the debt incurred?           02/24
          Las Vegas, NV 89113
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5 of 10
          Case 24-50893-RMM                        Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                            Desc Main
                                                               Document     Page 36 of 77
Debtor 1 Howard Pena
Debtor 2 Isled Pena                                                                                  Case number (if known)

4.11      Credit One Bank                                        Last 4 digits of account number       8021                                                 $796.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                  Opened 10/22 Last Active
          6801 Cimarron Rd                                       When was the debt incurred?           2/01/24
          Las Vegas, NV 89113
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.12      Credit One Bank                                        Last 4 digits of account number       3612                                                 $636.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                  Opened 02/21 Last Active
          6801 Cimarron Rd                                       When was the debt incurred?           02/24
          Las Vegas, NV 89113
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.13      Genesis FS Card Services                               Last 4 digits of account number       4671                                                 $981.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 01/22 Last Active
          Po Box 4477                                            When was the debt incurred?           2/05/24
          Beaverton, OR 97076
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 6 of 10
          Case 24-50893-RMM                        Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                            Desc Main
                                                               Document     Page 37 of 77
Debtor 1 Howard Pena
Debtor 2 Isled Pena                                                                                  Case number (if known)

4.14      George Martinez MD                                     Last 4 digits of account number       7274                                                 $236.70
          Nonpriority Creditor's Name
          PO Box 1415                                            When was the debt incurred?
          Milledgeville, GA 31059
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.15      Jefferson Capital Systems, LLC                         Last 4 digits of account number       0003                                               $1,776.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 12/14/22 Last Active
          200 14th Ave E                                         When was the debt incurred?           02/20
          Sartell, MN 56377
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

                                                                                     Factoring Company Account Verizon
             Yes                                                    Other. Specify   Wireless

4.16      LendingPoint LLC.                                      Last 4 digits of account number       2752                                               $2,745.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 02/22 Last Active
          1201 Roberts Blvd Suite 200                            When was the debt incurred?           10/19/23
          Kennesaw, GA 30144
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Unsecured




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 7 of 10
          Case 24-50893-RMM                        Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                            Desc Main
                                                               Document     Page 38 of 77
Debtor 1 Howard Pena
Debtor 2 Isled Pena                                                                                  Case number (if known)

4.17      MIDFLORIDA Credit Union                                Last 4 digits of account number       0325                                               $10,094.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 06/21 Last Active
          Po Box 8008                                            When was the debt incurred?           02/24
          Lakeland, FL 33802
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.18      Midland Credit Management                              Last 4 digits of account number                                                            $853.96
          Nonpriority Creditor's Name
          AAO Comenity Bank                                      When was the debt incurred?
          350 Camino de la Reina
          Suite 300
          Atlanta, GA 30308
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify


4.19      Northside Hospital                                     Last 4 digits of account number       9284                                                $1,055.00
          Nonpriority Creditor's Name
          1000 Johnson Ferry Rd                                  When was the debt incurred?
          Atlanta, GA 30342
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 10
          Case 24-50893-RMM                        Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                            Desc Main
                                                               Document     Page 39 of 77
Debtor 1 Howard Pena
Debtor 2 Isled Pena                                                                                  Case number (if known)

4.20      Redfin Corporation                                     Last 4 digits of account number       0254                                               $5,906.25
          Nonpriority Creditor's Name
          Attention: Partner Program                             When was the debt incurred?           12/2021
          1099 Stewart Street, Suite 600
          Seattle, WA 98101
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify


4.21      Synchrony Bank/Care Credit                             Last 4 digits of account number       0635                                                 $598.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 04/21 Last Active
          Po Box 965060                                          When was the debt incurred?           02/24
          Orlando, FL 32896
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Charge Account


4.22      Synchrony Bank/TJX                                     Last 4 digits of account number       3384                                                 $960.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 01/23 Last Active
          Po Box 965060                                          When was the debt incurred?           1/19/24
          Orlando, FL 32896
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 9 of 10
          Case 24-50893-RMM                           Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                            Desc Main
                                                                  Document     Page 40 of 77
Debtor 1 Howard Pena
Debtor 2 Isled Pena                                                                                      Case number (if known)

4.23      Utility Selfreported                                      Last 4 digits of account number         47B3                                                   $66.00
          Nonpriority Creditor's Name
          Po Box 4500                                               When was the debt incurred?             Last Active 6/12/23
          Allen, TX 75013
          Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                         Contingent
             Debtor 1 only
                                                                         Unliquidated
             Debtor 2 only
                                                                         Disputed
             Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                     Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

             No                                                          Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                         Other. Specify   Agriculture Chkg/Baldwincountywater

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Aldridge Pite Hann, LLP                                       Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Sana A. Cheema                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
P. O. Box 7389
Marietta, GA 30065
                                                              Last 4 digits of account number

Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
McCarthy, Burgess & Wolff                                     Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
26000 Cannon Road                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
Cleveland, OH 44146
                                                              Last 4 digits of account number                     0254

Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
   of unsecured claim.

                                                                                                                                  Total Claim
                        6a.   Domestic support obligations                                                  6a.        $                          0.00
Total claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.        $                     40,000.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.        $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.        $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.        $                     40,000.00

                                                                                                                                  Total Claim
                        6f.   Student loans                                                                 6f.        $                          0.00
Total claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that you
                              did not report as priority claims                                             6g.        $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.        $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.           $                     56,909.55

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.        $                     56,909.55




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 10 of 10
              Case 24-50893-RMM                         Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                          Desc Main
                                                                    Document     Page 41 of 77
Fill in this information to identify your case:

Debtor 1                  Howard Pena
                          First Name                         Middle Name              Last Name

Debtor 2                  Isled Pena
(Spouse if, filing)       First Name                         Middle Name              Last Name

United States Bankruptcy Court for the:               MIDDLE DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


       Person or company with whom you have the contract or lease                       State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
             Case 24-50893-RMM                            Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52               Desc Main
                                                                      Document     Page 42 of 77
Fill in this information to identify your case:

Debtor 1                   Howard Pena
                           First Name                           Middle Name        Last Name

Debtor 2                   Isled Pena
(Spouse if, filing)        First Name                           Middle Name        Last Name

United States Bankruptcy Court for the:                 MIDDLE DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
     fill out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

   3.1                                                                                               Schedule D, line
               Name
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G, line
               Number             Street
               City                                     State                       ZIP Code




   3.2                                                                                               Schedule D, line
               Name
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G, line
               Number             Street
               City                                     State                       ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 1
             Case 24-50893-RMM                    Doc 1    Filed 06/21/24 Entered 06/21/24 16:42:52                             Desc Main
                                                          Document     Page 43 of 77


Fill in this information to identify your case:

Debtor 1                      Howard Pena

Debtor 2                      Isled Pena
(Spouse, if filing)

United States Bankruptcy Court for the:       MIDDLE DISTRICT OF GEORGIA

Case number                                                                                            Check if this is:
(If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter
                                                                                                          13 income as of the following date:

Official Form 106I                                                                                        MM / DD/ YYYY
Schedule I: Your Income                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                  Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                  Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                              Not employed
       employers.
                                             Occupation            Deputy                                    Property Manager
       Include part-time, seasonal, or
       self-employed work.                                         Baldwin County Board of
                                             Employer's name       Commissioners                             Next Home on the Lake
       Occupation may include student
       or homemaker, if it applies.          Employer's address    121 North Wilkinson Street
                                                                   Suite 314                                 1051 Village Park Drive Suite 202
                                                                   Milledgeville, GA 31061                   Greensboro, GA 30642

                                             How long employed there?         10 months                               10 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1       For Debtor 2 or
                                                                                                                        non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $        5,625.00      $              0.00

3.     Estimate and list monthly overtime pay.                                             3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $      5,625.00            $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                page 1
           Case 24-50893-RMM                Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                                 Desc Main
                                                      Document     Page 44 of 77

Debtor 1   Howard Pena
Debtor 2   Isled Pena                                                                            Case number (if known)



                                                                                                  For Debtor 1            For Debtor 2 or
                                                                                                                          non-filing spouse
     Copy line 4 here                                                                     4.      $         5,625.00      $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.     $           972.00   $                   0.00
     5b.    Mandatory contributions for retirement plans                                  5b.     $           450.00   $                   0.00
     5c.    Voluntary contributions for retirement plans                                  5c.     $             0.00   $                   0.00
     5d.    Required repayments of retirement fund loans                                  5d.     $             0.00   $                   0.00
     5e.    Insurance                                                                     5e.     $           702.00   $                   0.00
     5f.    Domestic support obligations                                                  5f.     $             0.00   $                   0.00
     5g.    Union dues                                                                    5g.     $             0.00   $                   0.00
     5h.    Other deductions. Specify:                                                    5h.+    $             0.00 + $                   0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          2,124.00      $                0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,501.00      $                0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.     $              0.00     $        2,681.00
     8b. Interest and dividends                                                           8b.     $              0.00     $            0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.     $              0.00     $                0.00
     8d. Unemployment compensation                                                        8d.     $              0.00     $                0.00
     8e. Social Security                                                                  8e.     $              0.00     $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                 0.00   $                  0.00
     8g. Pension or retirement income                                                     8g. $                  0.00   $                  0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                  0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $               0.00     $           2,681.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $           3,501.00 + $        2,681.00 = $            6,182.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                     12.    $          6,182.00
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                    Schedule I: Your Income                                                      page 2
        Case 24-50893-RMM                        Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                                  Desc Main
                                                           Document     Page 45 of 77


Fill in this information to identify your case:

Debtor 1                 Howard Pena                                                                        Check if this is:
                                                                                                                An amended filing
Debtor 2                 Isled Pena                                                                             A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF GEORGIA                                                 MM / DD / YYYY

Case number
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,855.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                           115.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
       Case 24-50893-RMM                        Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                         Desc Main
                                                            Document     Page 46 of 77

Debtor 1     Howard Pena
Debtor 2     Isled Pena                                                                                 Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                    325.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                     90.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    275.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   775.00
8.    Childcare and children’s education costs                                                8. $                                                     0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                   201.00
10.   Personal care products and services                                                   10. $                                                    215.00
11.   Medical and dental expenses                                                           11. $                                                    120.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    550.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                      0.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                      0.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                    190.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    669.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                      0.00
      17c. Other. Specify: Sheffield Financial                                             17c. $                                                    306.00
      17d. Other. Specify:                                                                 17d. $                                                      0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                      0.00
      20b. Real estate taxes                                                               20b. $                                                      0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                      0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                      0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                      0.00
21.   Other: Specify:    IRS                                                                21. +$                                                   477.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       6,163.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       6,163.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               6,182.00
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              6,163.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                   19.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
          Case 24-50893-RMM                       Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                               Desc Main
                                                              Document     Page 47 of 77

                                                          United States Bankruptcy Court
                                                                Middle District of Georgia
           Howard Pena
In re      Isled Pena                                                                                           Case No.
                                                                               Debtor(s)                        Chapter    7


                                              BUSINESS INCOME AND EXPENSES
        FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
         1. Gross Income For 12 Months Prior to Filing:                                                     $          17,413.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
         2. Gross Monthly Income                                                                                                  $           3,660.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
         3. Net Employee Payroll (Other Than Debtor)                                                        $                  0.00
         4. Payroll Taxes                                                                                                      0.00
         5. Unemployment Taxes                                                                                                 0.00
         6. Worker's Compensation                                                                                              0.00
         7. Other Taxes                                                                                                        0.00
         8. Inventory Purchases (Including raw materials)                                                                  162.50
         9. Purchase of Feed/Fertilizer/Seed/Spray                                                                             0.00
         10. Rent (Other than debtor's principal residence)                                                                300.00
         11. Utilities                                                                                                         0.00
         12. Office Expenses and Supplies                                                                                  100.00
         13. Repairs and Maintenance                                                                                           0.00
         14. Vehicle Expenses                                                                                              200.00
         15. Travel and Entertainment                                                                                          0.00
         16. Equipment Rental and Leases                                                                                       0.00
         17. Legal/Accounting/Other Professional Fees                                                                      187.50
         18. Insurance                                                                                                         0.00
         19. Employee Benefits (e.g., pension, medical, etc.)                                                                  0.00
         20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                 DESCRIPTION                                                                     TOTAL

         21. Other (Specify):

                 DESCRIPTION                                                                     TOTAL

         22. Total Monthly Expenses (Add items 3-21)                                                                              $               950.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
         23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                            $           2,710.00
             Case 24-50893-RMM              Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                             Desc Main
                                                        Document     Page 48 of 77




Fill in this information to identify your case:

Debtor 1                 Howard Pena
                         First Name               Middle Name              Last Name

Debtor 2                 Isled Pena
(Spouse if, filing)      First Name               Middle Name              Last Name

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                  Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Howard Pena                                                   X   /s/ Isled Pena
             Howard Pena                                                       Isled Pena
             Signature of Debtor 1                                             Signature of Debtor 2

             Date     June 21, 2024                                            Date    June 21, 2024




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
             Case 24-50893-RMM                            Doc 1        Filed 06/21/24 Entered 06/21/24 16:42:52                                                  Desc Main
                                                                      Document     Page 49 of 77
Fill in this information to identify your case:

Debtor 1                  Howard Pena
                          First Name                           Middle Name                         Last Name

Debtor 2                  Isled Pena
(Spouse if, filing)       First Name                           Middle Name                         Last Name

United States Bankruptcy Court for the:                 MIDDLE DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             408,550.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              72,467.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             481,017.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             509,611.69

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              40,000.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              56,909.55


                                                                                                                                 Your total liabilities $                  606,521.24


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $               6,182.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $               6,163.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
               the court with your other schedules.


Official Form 106Sum                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
        Case 24-50893-RMM                      Doc 1     Filed 06/21/24 Entered 06/21/24 16:42:52                                Desc Main
                                                        Document     Page 50 of 77
Debtor 1   Howard Pena
Debtor 2   Isled Pena                                                                  Case number (if known)

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                              $                    7,426.72


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            40,000.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

     9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $                 0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


     9g. Total. Add lines 9a through 9f.                                                           $             40,000.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
    Case 24-50893-RMM   Doc 1 Filed 06/21/24 Entered 06/21/24 16:42:52   Desc Main
                        Pena,Document
                              Howard and  Page 51 of-77
                                            Isled


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                        Aldridge Pite Hann, LLP
                        Attn: Sana A. Cheema
                        P. O. Box 7389
                        Marietta, GA 30065

                        Ally Financial, Inc
                        Attn: Bankruptcy
                        500 Woodard Ave
                        Detroit, MI 48226

                        Amazon
                        202 Westlake Avenue
                        Seattle, WA 98109

                        Bridgecrest Acceptance Corp
                        7300 East Hampton Avenue
                        Suite 100
                        Mesa, AZ 85209

                        Capital One
                        Attn: Bankruptcy
                        Po Box 30285
                        Salt Lake City, UT 84130

                        Cardinal Finance Co/Dovenmuehle Mtg
                        Attn: Bankruptcy
                        1 Corporate Dr. Ste 360
                        Lake Zurich, IL 60047

                        Cardinal Financial Company
                        1 Corporate Drive
                        Suite 360
                        Milledgeville, GA 31061

                        Chase Card Services
                        Attn: Bankruptcy
                        P.O. 15298
                        Wilmington, DE 19850

                        Coliseum Northside Hospital
                        400 Charter Blvd
                        Macon, GA 31210

                        Concora Credit / Destiny Card
                        P. O. Box 23030
                        Columbus, GA 31902-3030

                        Credit One Bank
                        Attn: Bankruptcy Department
                        6801 Cimarron Rd
                        Las Vegas, NV 89113
Case 24-50893-RMM   Doc 1 Filed 06/21/24 Entered 06/21/24 16:42:52   Desc Main
                    Pena,Document
                          Howard and  Page 52 of-77
                                        Isled



                    Genesis FS Card Services
                    Attn: Bankruptcy
                    Po Box 4477
                    Beaverton, OR 97076

                    George Martinez MD
                    PO Box 1415
                    Milledgeville, GA 31059

                    Georgia Department of Revenue
                    Compliance Division
                    ARCS Bankruptcy
                    1800 Century Blvd. NE, Suite 9100
                    Atlanta, GA 30345-3202

                    Internal Revenue Service
                    P.O. Box 7346
                    Philadelphia, PA 19101-7346

                    Internal Revenue Service
                    401 W. Peachtree Street, NW
                    Stop 334-D, Room 400
                    Atlanta, GA 30308

                    Jefferson Capital Systems, LLC
                    Attn: Bankruptcy
                    200 14th Ave E
                    Sartell, MN 56377

                    LendingPoint LLC.
                    Attn: Bankruptcy
                    1201 Roberts Blvd Suite 200
                    Kennesaw, GA 30144

                    McCarthy, Burgess & Wolff
                    26000 Cannon Road
                    Cleveland, OH 44146
                    MIDFLORIDA Credit Union
                    Attn: Bankruptcy
                    Po Box 8008
                    Lakeland, FL 33802

                    Midland Credit Management
                    AAO Comenity Bank
                    350 Camino de la Reina
                    Suite 300
                    Atlanta, GA 30308

                    Midland Credit Management, Inc
                    AAO Comenity Bank
                    Po Box 939069
                    San Diego, CA 92193
Case 24-50893-RMM   Doc 1 Filed 06/21/24 Entered 06/21/24 16:42:52   Desc Main
                    Pena,Document
                          Howard and  Page 53 of-77
                                        Isled



                    Northside Hospital
                    1000 Johnson Ferry Rd
                    Atlanta, GA 30342

                    Redfin Corporation
                    Attention: Partner Program
                    1099 Stewart Street, Suite 600
                    Seattle, WA 98101

                    Sheffield Financial
                    Attn: Bankruptcy
                    214 N Tryon St
                    Charlotte, NC 28202

                    Stellantis Financial Srvs
                    Attn: Bankruptcy
                    3065 Akers Mill Rd Se, Ste 700
                    Atlanta, GA 30339

                    Synchrony Bank/Care Credit
                    Attn: Bankruptcy
                    Po Box 965060
                    Orlando, FL 32896

                    Synchrony Bank/TJX
                    Attn: Bankruptcy
                    Po Box 965060
                    Orlando, FL 32896

                    United States Department of Housing
                    & Urban Development
                    451 7th Street, S.W.
                    Washington, DC 20410

                    Utility Selfreported
                    Po Box 4500
                    Allen, TX 75013
         Case 24-50893-RMM               Doc 1    Filed 06/21/24 Entered 06/21/24 16:42:52                        Desc Main
                                                 Document     Page 54 of 77




                                              United States Bankruptcy Court
                                                     Middle District of Georgia
         Howard Pena
 In re   Isled Pena                                                                            Case No.
                                                                   Debtor(s)                   Chapter      7




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: June 21, 2024                                    /s/ Howard Pena
                                                       Howard Pena
                                                       Signature of Debtor

Date: June 21, 2024                                    /s/ Isled Pena
                                                       Isled Pena
                                                       Signature of Debtor
            Case 24-50893-RMM                   Doc 1       Filed 06/21/24 Entered 06/21/24 16:42:52                                Desc Main
                                                           Document     Page 55 of 77
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                              Middle District of Georgia
             Howard Pena
 In re       Isled Pena                                                                                       Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,300.00
             Prior to the filing of this statement I have received                                        $                      900.00
             Balance Due                                                                                  $                     1,400.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Exemption Planning
             Stopping creditor actions against Client
             Negotiations with secured creditors to reduce to market value
             Preparation and filing of Reaffirmation Agreements and Applications
             Change of Address Filings

                  Representation at the meeting of creditors and confirmation hearings may be by an attorney on staff with Burrow
                  & Associates, LLC or an attorney with whom Burrow & Associates, LLC has contracted to provide services.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Filing any Judicial Lien Avoidances
             Filing any Lien Avoidances on Household Goods
             Filing any Motions to Redeem Property
             Representation of the Debtor in any Adversary Proceedings
             Representation of the Debtor in any Dischargeability Actions
             Representation of the Debtor in any Motion Hearings
             Representation of the Debtor at any Rule 2004 Examination
             Representation of the Debtor in any Fraudlent Transfer Actions
             Representation of the Debtor in any Trustee's Motion to Dismiss Actions
             Representation of the Debtor in any Complaint to Avoid Transfer of Property
             Representation of the Debtor in any Stay Relief Actions
        Case 24-50893-RMM                   Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                               Desc Main
                                                      Document     Page 56 of 77
          Howard Pena
In re     Isled Pena                                                                                Case No.
                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   June 21, 2024                                                         /s/ Michael F. Burrow
   Date                                                                  Michael F. Burrow 317998
                                                                         Signature of Attorney
                                                                         Burrow & Associates, LLC
                                                                         2280 Satellite Blvd.
                                                                         Bldg. A, Suite 100
                                                                         Duluth, GA 30097
                                                                         678-942-8640 Fax: 678-745-0412
                                                                         bankruptcy@legalatlanta.com
                                                                         Name of law firm
             Case 24-50893-RMM               Doc 1       Filed 06/21/24 Entered 06/21/24 16:42:52                        Desc Main
                                                        Document     Page 57 of 77

Fill in this information to identify your case:

Debtor 1                 Howard Pena
                         First Name               Middle Name               Last Name

Debtor 2                 Isled Pena
(Spouse if, filing)      First Name               Middle Name               Last Name

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF GEORGIA

Case number
(if known)                                                                                                              Check if this is an
                                                                                                                        amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                           12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral What do you intend to do with the property that    Did you claim the property
                                                              secures a debt?                                    as exempt on Schedule C?


   Creditor's         Bridgecrest Acceptance Corp                  Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of       2019 Mercedes-Benz GLC 300                 Reaffirmation Agreement.
   property             33000 miles                                Retain the property and [explain]:
   securing debt:



   Creditor's         Cardinal Finance Co/Dovenmuehle              Surrender the property.                             No
   name:              Mtg                                          Retain the property and redeem it.
                                                                                                                       Yes
                                                                   Retain the property and enter into a
   Description of       251 Pettigrew Road NW                      Reaffirmation Agreement.
   property             Milledgeville, GA 31061                    Retain the property and [explain]:
   securing debt:



   Creditor's         Midland Credit Management, Inc               Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of       251 Pettigrew Road NW                      Reaffirmation Agreement.


Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
         Case 24-50893-RMM                  Doc 1     Filed 06/21/24 Entered 06/21/24 16:42:52                                Desc Main
                                                     Document     Page 58 of 77

Debtor 1      Howard Pena
Debtor 2      Isled Pena                                                                   Case number (if known)


   property         Milledgeville, GA 31061                      Retain the property and [explain]:
   securing debt:                                             avoid lien using 11 U.S.C. § 522(f)


   Creditor's   Sheffield Financial                              Surrender the property.                                     No
   name:                                                         Retain the property and redeem it.
                                                                 Retain the property and enter into a                        Yes
   Description of 2022 CForce 800 XC Moto Side                   Reaffirmation Agreement.
   property       by Side                                        Retain the property and [explain]:
   securing debt: Off Road Utility Vehicle



   Creditor's   Stellantis Financial Srvs                        Surrender the property.                                     No
   name:                                                         Retain the property and redeem it.
                                                                 Retain the property and enter into a                        Yes
   Description of   2022 Ram 1500 35000 miles                    Reaffirmation Agreement.
   property                                                      Retain the property and [explain]:
   securing debt:



   Creditor's   United States Department of                      Surrender the property.                                     No
   name:        Housing                                          Retain the property and redeem it.
                                                                                                                             Yes
                                                                 Retain the property and enter into a
   Description of   251 Pettigrew Road NW                        Reaffirmation Agreement.
   property         Milledgeville, GA 31061                      Retain the property and [explain]:
   securing debt:   Baldwin County

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                    Will the lease be assumed?

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes



Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                    page 2
          Case 24-50893-RMM               Doc 1     Filed 06/21/24 Entered 06/21/24 16:42:52                           Desc Main
                                                   Document     Page 59 of 77

Debtor 1     Howard Pena
Debtor 2     Isled Pena                                                                Case number (if known)



Lessor's name:                                                                                                  No
Description of leased
Property:                                                                                                       Yes

Lessor's name:                                                                                                  No
Description of leased
Property:                                                                                                       Yes

Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X    /s/ Howard Pena                                                   X /s/ Isled Pena
     Howard Pena                                                          Isled Pena
     Signature of Debtor 1                                                Signature of Debtor 2

     Date       June 21, 2024                                          Date    June 21, 2024




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                 page 3
             Case 24-50893-RMM                     Doc 1       Filed 06/21/24 Entered 06/21/24 16:42:52                                          Desc Main
                                                              Document     Page 60 of 77

Fill in this information to identify your case:                                                      Check one box only as directed in this form and in Form
                                                                                                     122A-1Supp:
Debtor 1              Howard Pena
Debtor 2              Isled Pena                                                                             1. There is no presumption of abuse
(Spouse, if filing)
                                                                                                             2. The calculation to determine if a presumption of abuse
United States Bankruptcy Court for the:         Middle District of Georgia
                                                                                                                applies will be made under Chapter 7 Means Test
                                                                                                                Calculation (Official Form 122A-2).
Case number
(if known)                                                                                                   3. The Means Test does not apply now because of
                                                                                                                qualified military service but it could apply later.
                                                                                                             Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                     12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Part 1:          Calculate Your Current Monthly Income
  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
               living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
   6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
   the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                  Column B
                                                                                                         Debtor 1                  Debtor 2 or
                                                                                                                                   non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                           $                           4,746.57       $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                0.00      $               0.00
  5. Net income from operating a business, profession, or farm
                                                  Debtor 1            Debtor 2
     Gross receipts (before all
     deductions)                      $                0.00   $      3,630.15
     Ordinary and necessary
     operating expenses              -$                0.00 -$          950.00
     Net monthly income from a                                                  Copy
     business, profession, or farm    $                0.00 $        2,680.15 here -> $                                  0.00      $          2,680.15
  6. Net income from rental and other real property
                                                                                  Debtor 1
       Gross receipts (before all deductions)                           $       0.00
       Ordinary and necessary operating expenses                        -$      0.00
       Net monthly income from rental or other real property            $       0.00 Copy here -> $                      0.00      $               0.00
                                                                                                         $               0.00      $               0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                 Chapter 7 Statement of Your Current Monthly Income                                                            page 1
           Case 24-50893-RMM                    Doc 1     Filed 06/21/24 Entered 06/21/24 16:42:52                                        Desc Main
                                                         Document     Page 61 of 77
Debtor 1     Howard Pena
Debtor 2     Isled Pena                                                                             Case number (if known)



                                                                                                Column A                      Column B
                                                                                                Debtor 1                      Debtor 2 or
                                                                                                                              non-filing spouse
  8. Unemployment compensation                                                                  $                  0.00       $           0.00
      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here:
        For you                                             $                 0.00
           For your spouse                                     $                   0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence,
      do not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any
      retired pay paid under chapter 61 of title 10, then include that pay only to the extent
      that it does not exceed the amount of retired pay to which you would otherwise be
      entitled if retired under any provision of title 10 other than chapter 61 of that title. $                   0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation pension, pay, annuity, or allowance paid by
      the United States Government in connection with a disability, combat-related injury
      or disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below..
              .                                                                                $                   0.00       $           0.00
                                                                                                $                  0.00       $           0.00
                Total amounts from separate pages, if any.                                 +    $                  0.00       $           0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.          $       4,746.57          +$          2,680.15     =$       7,426.72

                                                                                                                                           Total current monthly
                                                                                                                                           income

Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
      12a. Copy your total current monthly income from line 11                                            Copy line 11 here=>              $       7,426.72

             Multiply by 12 (the number of months in a year)                                                                                   x 12
      12b. The result is your annual income for this part of the form                                                               12b. $        89,120.64

  13. Calculate the median family income that applies to you. Follow these steps:

      Fill in the state in which you live.                              GA

      Fill in the number of people in your household.                    2
      Fill in the median family income for your state and size of household.                                                        13.    $      79,803.00
      To find a list of applicable median income amounts, go online using the link specified in the separate instructions
      for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
      14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3. Do NOT fill out or file Official Form 122A-2.
      14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.
Part 3:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Howard Pena                                                    X /s/ Isled Pena
               Howard Pena                                                           Isled Pena

Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                     page 2
           Case 24-50893-RMM                   Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                         Desc Main
                                                         Document     Page 62 of 77
Debtor 1   Howard Pena
Debtor 2   Isled Pena                                                                             Case number (if known)

             Signature of Debtor 1                                                     Signature of Debtor 2
       Date June 21, 2024                                                      Date June 21, 2024
            MM / DD / YYYY                                                          MM / DD / YYYY
           If you checked line 14a, do NOT fill out or file Form 122A-2.
           If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                page 3
          Case 24-50893-RMM                         Doc 1     Filed 06/21/24 Entered 06/21/24 16:42:52                                 Desc Main
                                                             Document     Page 63 of 77

Fill in this information to identify your case:                                                            Check the appropriate box as directed in
                                                                                                           lines 40 or 42:
Debtor 1           Howard Pena
                                                                                                               According to the calculations required by this
Debtor 2          Isled Pena                                                                                   Statement:
(Spouse, if filing)
                                                                                                                  1. There is no presumption of abuse.
United States Bankruptcy Court for the:        Middle District of Georgia
                                                                                                                  2. There is a presumption of abuse.
Case number
(if known)
                                                                                                               Check if this is an amended filing
Official Form 122A - 2
Chapter 7 Means Test Calculation                                                                                                                         04/22

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

Part 1:       Determine Your Adjusted Income

1.   Copy your total current monthly income.                           Copy line 11 from Official Form 122A-1 here=>........       $             7,426.72

2.   Did you fill out Column B in Part 1 of Form 122A-1?
          No. Fill in $0 for the total on line 3.
          Yes. Is your spouse Filing with you?
            No.        Go to line 3.
            Yes.       Fill in $0 for the total on line 3.

3.   Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
     household expenses of you or your dependents. Follow these steps:

     On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT regularly used for the household
     expenses of you or your dependents?

          No. Fill in 0 for the total on line 3.
          Yes. Fill in the information below:

             State each purpose for which the income was used                                Fill in the amount you
             For example, the income is used to pay your spouse's tax debt or to             are subtracting from
             support other than you or your dependents.                                      your spouse's income

                                                                                         $

                                                                                         $

                                                                                         $

                   Total.                                                                $              0.00

                                                                                                                Copy total here=>...    -$              0.00


4.   Adjust your current monthly income. Subtract line 3 from line 1.                                                                   $      7,426.72




Official Form 122A-2                                          Chapter 7 Means Test Calculation                                                      page 1
            Case 24-50893-RMM                     Doc 1    Filed 06/21/24 Entered 06/21/24 16:42:52                                         Desc Main
                                                          Document     Page 64 of 77
Debtor 1     Howard Pena
Debtor 2     Isled Pena                                                                         Case number (if known)



Part 2:          Calculate Your Deductions from Your Income

   The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
   to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
   instructions for this form. This information may also be available at the bankruptcy clerk's office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some
   of your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse's
   income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 122A-1.

   If your expenses differ from month to month, enter the average expense.

   Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.


   5.      The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support. This number may be different from                         2
           the number of people in your household.



   National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.



   6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                                    $         1,411.00


   7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.



   People who are under 65 years of age

           7a. Out-of-pocket health care allowance per person        $         83.00

           7b. Number of people who are under 65                     X          2

           7c. Subtotal. Multiply line 7a by line 7b.                $        166.00            Copy here=>        $           166.00


   People who are 65 years of age or older

           7d. Out-of-pocket health care allowance per person        $        158.00

           7e. Number of people who are 65 or older                  X          0

           7f.   Subtotal. Multiply line 7d by line 7e.              $           0.00           Copy here=>       +$             0.00


           7g. Total. Add lines 7c and 7f                                               $      166.00                    Copy total here=> $      166.00




Official Form 122A-2                                         Chapter 7 Means Test Calculation                                                       page 2
            Case 24-50893-RMM                        Doc 1       Filed 06/21/24 Entered 06/21/24 16:42:52                                               Desc Main
                                                                Document     Page 65 of 77
Debtor 1     Howard Pena
Debtor 2     Isled Pena                                                                                      Case number (if known)


   Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:

        Housing and utilities - Insurance and operating expenses
        Housing and utilities - Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk's office.


   8.      Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5,
           fill in the dollar amount listed for your county for insurance and operating expenses. ...........................................       $                  750.00

   9.      Housing and utilities - Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount
               listed for your county for mortgage or rent expenses...................................                           $       1,003.00

           9b. Total average monthly payment for all mortgages and other debts secured by your home.

                To calculate the total average monthly payment, add all amounts that are
                contractually due to each secured creditor in the 60 months after you file
                for bankruptcy. Then divide by 60.

                Name of the creditor                                              Average monthly
                                                                                  payment

                Cardinal Finance Co/Dovenmuehle Mtg                               $           3,456.00
                Internal Revenue Service                                          $             143.63
                Internal Revenue Service                                          $             399.51


                                                                                                                                                         Repeat this
                                                                                                              Copy                                       amount on
                                       Total average monthly payment              $           3,999.14        here=>        -$               3,999.14 line 33a.

           9c. Net mortgage or rent expense.

                Subtract line 9b (total average monthly payment) from line 9a (mortgage                                                         Copy
                or rent expense). If this amount is less than $0, enter $0. ........................             $                    0.00      here=>    $              0.00


   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
       affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                        $               0.00

            Explain why:

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

              0. Go to line 14.

              1. Go to line 12.

              2 or more. Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                               $             260.00




Official Form 122A-2                                                Chapter 7 Means Test Calculation                                                                   page 3
           Case 24-50893-RMM                        Doc 1       Filed 06/21/24 Entered 06/21/24 16:42:52                                             Desc Main
                                                               Document     Page 66 of 77
Debtor 1     Howard Pena
Debtor 2     Isled Pena                                                                                     Case number (if known)



   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
       You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
       more than two vehicles.


    Vehicle 1         Describe Vehicle 1:
                                                2019 Mercedes-Benz GLC 300 33000 miles

   13a. Ownership or leasing costs using IRS Local Standard..........................................               $             619.00

   13b. Average monthly payment for all debts secured by Vehicle 1.
           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all amounts that
           are contractually due to each secured creditor in the 60 months after you filed for
           bankruptcy. Then divide by 60.

                Name of each creditor for Vehicle 1                              Average monthly
                                                                                 payment

                Bridgecrest Acceptance Corp                                      $             535.20

                                                                                                                                                 Repeat this
                                                                                                               Copy                              amount on
                                       Total Average Monthly Payment             $             535.20          here =>       -$       535.20 line 33b.


   13c. Net Vehicle 1 ownership or lease expense                                                                                            Copy net
                                                                                                                                            Vehicle 1
           Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                                       expense
                                                                                                                    $              83.80    here => $          83.80



    Vehicle 2         Describe Vehicle 2:


   13d. Ownership or leasing costs using IRS Local Standard...................................................      $               0.00

   13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
        leased vehicles.

                Name of each creditor for Vehicle 2                              Average monthly
                                                                                 payment

                                                                                 $

                                                                                                               Copy                           Repeat this
                                                                                                               here                           amount on
                                       Total Average Monthly Payment             $                                                     0.00 line 33c.
                                                                                                               =>       -$


   13f. Net Vehicle 2 ownership or lease expense                                                                                            Copy net
                                                                                                                                            Vehicle 2
           Subtract line 13e from line 13d. if this amount is less than $0, enter $0. ......................                                expense
                                                                                                                    $               0.00    here => $            0.00


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
       Transportation expense allowance regardless of whether you use public transportation.                                                            $        0.00

   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
       also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
       not claim more than the IRS Local Standard for Public Transportation.                                                                            $        0.00




Official Form 122A-2                                              Chapter 7 Means Test Calculation                                                             page 4
           Case 24-50893-RMM                     Doc 1         Filed 06/21/24 Entered 06/21/24 16:42:52                                Desc Main
                                                              Document     Page 67 of 77
Debtor 1     Howard Pena
Debtor 2     Isled Pena                                                                           Case number (if known)




   Other Necessary Expenses             In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                        the following IRS categories.

   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
       from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by
       12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
           Do not include real estate, sales, or use taxes.                                                                             $      823.05

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
       contributions, union dues, and uniform costs.
           Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.         $          0.00

   18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
       filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for
       life insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than
       term.                                                                                                                            $          0.00

   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
       administrative agency, such as spousal or child support payments.
           Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.    $          0.00

   20. Education: The total monthly amount that you pay for education that is either required:
              as a condition for your job, or
              for your physically or mentally challenged dependent child if no public education is available for similar services.      $          0.00

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and
       preschool.
           Do not include payments for any elementary or secondary school education.                                                    $          0.00

   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
       that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
       by a health savings account. Include only the amount that is more than the total entered in line 7.
           Payments for health insurance or health savings accounts should be listed only in line 25.                                   $          0.00

   23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication
       services for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or
       business cell phone service, to the extent necessary for your health and welfare or that of your dependents or for the
       production of income, if it is not reimbursed by your employer.
           Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
           expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.                  +$          0.00



   24. Add all of the expenses allowed under the IRS expense allowances.                                                                $   3,493.85
       Add lines 6 through 23.




Official Form 122A-2                                           Chapter 7 Means Test Calculation                                                 page 5
           Case 24-50893-RMM                    Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                               Desc Main
                                                          Document     Page 68 of 77
Debtor 1     Howard Pena
Debtor 2     Isled Pena                                                                         Case number (if known)



   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.

   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                          $        303.33
           Disability insurance                                      $           0.00
           Health savings account                                  +$            0.00


           Total                                                     $         303.33       Copy total here=>                      $     303.33


           Do you actually spend this total amount?

                   No. How much do you actually spend?
                   Yes                                               $
   26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member
       of your household or member of your immediate family who is unable to pay for such expenses. These expenses
       may include contributions to an account of a qualified ABLE program. 26 U.S.C.§ 529A(b).                                    $          0.00
   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
       safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

           By law, the court must keep the nature of these expenses confidential.                                                  $          0.00
   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
       line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on
       line 8, then fill in the excess amount of home energy costs.
       You must give your case trustee documentation of your actual expenses, and you must show that the additional
       amount claimed is reasonable and necessary.                                                                                 $          0.00
   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
       $189.58* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
       public elementary or secondary school.
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount
       claimed is reasonable and necessary and not already accounted for in lines 6-23.

           * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.    $          0.00
   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
       than 5% of the food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate
       instructions for this form. This chart may also be available at the bankruptcy clerk's office.
       You must show that the additional amount claimed is reasonable and necessary.                                               $          0.00
   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).                                          +$          0.00


   32. Add all of the additional expense deductions.                                                                               $    303.33
       Add lines 25 through 31.




Official Form 122A-2                                        Chapter 7 Means Test Calculation                                              page 6
           Case 24-50893-RMM                      Doc 1    Filed 06/21/24 Entered 06/21/24 16:42:52                                        Desc Main
                                                          Document     Page 69 of 77
Debtor 1    Howard Pena
Debtor 2    Isled Pena                                                                               Case number (if known)




   Deductions for Debt Payment

   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.

            Mortgages on your home:                                                                                                        Average monthly
                                                                                                                                           payment
   33a.     Copy line 9b here                                                                                                        =>    $        3,999.14
            Loans on your first two vehicles:
   33b.     Copy line 13b here                                                                                                       =>    $          535.20
   33c.     Copy line 13e here                                                                                                       =>    $             0.00
   33d.     List other secured debts:
   Name of each creditor for other secured debt          Identify property that secures the debt                    Does payment
                                                                                                                    include taxes or
                                                                                                                    insurance?


                                                         2022 CForce 800 XC Moto Side by Side                                 No
           Sheffield Financial                           Off Road Utility Vehicle                                             Yes          $          178.63

                                                                                                                              No
                                                                                                                              Yes          $

                                                                                                                              No
                                                                                                                              Yes         +$


                                                                                                                                       Copy
                                                                                                                                       total
   33e. Total average monthly payment. Add lines 33a through 33d                                         $           4,712.97          here=>   $     4,712.97

   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

            No. Go to line 35.
            Yes. State any amount that you must pay to a creditor, in addition to the payments
                 listed in line 33, to keep possession of your property (called the cure amount).
                 Next, divide by 60 and fill in the information below.

    Name of the creditor                             Identify property that secures the debt                     Total cure                     Monthly cure
                                                                                                                 amount                         amount

    -NONE-                                                                                                   $                       ÷ 60 = $


                                                                                                                                       Copy
                                                                                                                                       total
                                                                                                   Total $                    0.00     here=>   $              0.00


   35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
       are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
            No.   Go to line 36.
            Yes. Fill in the total amount of all of these priority claims. Do not include current or
                 ongoing priority claims, such as those you listed in line 19.
                    Total amount of all past-due priority claims                                         $          40,000.00 ÷ 60 = $                    666.67




Official Form 122A-2                                         Chapter 7 Means Test Calculation                                                              page 7
           Case 24-50893-RMM                      Doc 1       Filed 06/21/24 Entered 06/21/24 16:42:52                                                   Desc Main
                                                             Document     Page 70 of 77
Debtor 1     Howard Pena
Debtor 2     Isled Pena                                                                                   Case number (if known)



   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

             No. Go to line 37.
             Yes. Fill in the following information.
                    Projected monthly plan payment if you were filing under Chapter 13                        $
                    Current multiplier for your district as stated on the list issued by the
                    Administrative Office of the United States Courts (for districts in Alabama
                    and North Carolina) or by the Executive Office for United States Trustees
                    (for all other districts).                                                               X


                    To find a list of district multipliers that includes your district, go online using
                    the link specified in the separate instructions for this form. This list may also
                    be available at the bankruptcy clerk’s office.
                                                                                                                                            Copy total
                    Average monthly administrative expense if you were filing under Chapter 13                    $                         here=> $




   37. Add all of the deductions for debt payment.                                                                                                        $     5,379.64
       Add lines 33e through 36.

   Total Deductions from Income

   38. Add all of the allowed deductions.
           Copy line 24, All of the expenses allowed under IRS
           expense allowances                                                      $           3,493.85
           Copy line 32, All of the additional expense deductions                  $              303.33
           Copy line 37, All of the deductions for debt payment                  +$            5,379.64


                                                          Total deductions         $           9,176.82               Copy total here...........=>       $         9,176.82


Part 3:        Determine Whether There is a Presumption of Abuse

   39. Calculate monthly disposable income for 60 months
           39a. Copy line 4, adjusted current monthly income                       $           7,426.72
           39b. Copy line 38,Total deductions                                    -$            9,176.82

           39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                     Copy
                Subtract line 39b from line 39a                                    $          -1,750.10               here=>$                  -1,750.10


           For the next 60 months (5 years)                                                                                          x 60

                                                                                                                                    Copy
           39d. Total. Multiply line 39c by 60                                         39d.   $            -105,006.00              here=>           $        -105,006.00

   40. Find out whether there is a presumption of abuse. Check the box that applies:

             The line 39d is less than $9,075*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

             The line 39d is more than $15,150*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
             Part 4 if you claim special circumstances. Go to Part 5.

             The line 39d is at least $9,075*, but not more than $15,150*. Go to line 41.

       *Subject to adjustment on 4/01/25, and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 122A-2                                            Chapter 7 Means Test Calculation                                                                     page 8
           Case 24-50893-RMM                               Doc 1         Filed 06/21/24 Entered 06/21/24 16:42:52                                           Desc Main
                                                                        Document     Page 71 of 77
Debtor 1     Howard Pena
Debtor 2     Isled Pena                                                                                                       Case number (if known)




   41.       41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out
                  A Summary of Your Assets and Liabilities and Certain Statistical Information
                  Schedules (Official Form 106Sum), you may refer to line 3b on that form.                                           $
                                                                                                                                         x      .25
                                                                                                                                                        Copy
             41b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I)                                       $                  here=>   $
                    Multiply line 41a by 0.25.....................................................................................

   42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay
       25% of your unsecured, nonpriority debt.
       Check the box that applies:

             Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

             Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2. There is a
             presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


Part 4:        Give Details About Special Circumstances

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).


           No. Go to Part 5.

           Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for
                each item. You may include expenses you listed in line 25.

                You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
                necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
                adjustments.



                 Give a detailed explanation of the special circumstances                                                     Average monthly expense
                                                                                                                              or income adjustment

                                                                                                                                 $

                                                                                                                                 $

                                                                                                                                 $

                                                                                                                                 $


Part 5:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Howard Pena                                                                            X /s/ Isled Pena
                Howard Pena                                                                                   Isled Pena
                Signature of Debtor 1                                                                         Signature of Debtor 2
         Date June 21, 2024                                                                          Date June 21, 2024
              MM / DD / YYYY                                                                              MM / DD / YYYY




Official Form 122A-2                                                        Chapter 7 Means Test Calculation                                                         page 9
           Case 24-50893-RMM          Doc 1    Filed 06/21/24 Entered 06/21/24 16:42:52                   Desc Main
                                              Document     Page 72 of 77
Debtor 1   Howard Pena
Debtor 2   Isled Pena                                                            Case number (if known)




                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 12/01/2023 to 05/31/2024.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Baldwin County Board of Commissioners
Year-to-Date Income:
Last Year:
Starting Year-to-Date Income: $25,790.82 from check dated 11/30/2023 .
Ending Year-to-Date Income: $30,160.60 from check dated 12/31/2023 .

This Year:
Current Year-to-Date Income: $24,109.62 from check dated        5/31/2024    .

Income for six-month period (Current+(Ending-Starting)): $28,479.40 .
Average Monthly Income: $4,746.57 .




Official Form 122A-2                              Chapter 7 Means Test Calculation                                page 10
           Case 24-50893-RMM          Doc 1    Filed 06/21/24 Entered 06/21/24 16:42:52                     Desc Main
                                              Document     Page 73 of 77
Debtor 1   Howard Pena
Debtor 2   Isled Pena                                                            Case number (if known)


                             Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 12/01/2023 to 05/31/2024.

Line 5 - Income from operation of a business, profession, or farm
Source of Income: Isled Pena
Income/Expense/Net by Month:
                          Date                         Income                          Expense                  Net
 6 Months Ago:                  12/2023                      $1,995.00                            $950.00             $1,045.00
 5 Months Ago:                  01/2024                      $3,540.00                            $950.00             $2,590.00
 4 Months Ago:                  02/2024                      $3,780.00                            $950.00             $2,830.00
 3 Months Ago:                  03/2024                      $2,500.00                            $950.00             $1,550.00
 2 Months Ago:                  04/2024                      $7,465.88                            $950.00             $6,515.88
 Last Month:                    05/2024                      $2,500.00                            $950.00             $1,550.00
                      Average per month:                     $3,630.15                            $950.00
                                                                           Average Monthly NET Income:                $2,680.15




Official Form 122A-2                              Chapter 7 Means Test Calculation                                     page 11
          Case 24-50893-RMM                      Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                         Desc Main
                                                           Document     Page 74 of 77

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245   filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                    page 1
          Case 24-50893-RMM                      Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                            Desc Main
                                                           Document     Page 75 of 77


       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property, you
You must file Chapter 7 Statement of Your Current                                         must list it on Schedule C: The Property You Claim as
Monthly Income (Official Form 122A–1) if you are an                                       Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                       $1,167   filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on                                                $1,738   total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay                                    but is also available to individuals. The provisions of
unsecured creditors. If                                                                   chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
          Case 24-50893-RMM                      Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                           Desc Main
                                                           Document     Page 76 of 77
       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file. Only
           an attorney can give you legal advice about what can happen as a result of filing for bankruptcy and
           what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms properly
           and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that many
           people find it difficult to represent themselves successfully. The rules are technical, and a mistake or
           inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family                                                     repay your creditors all or part of the money that you
            farmers or fishermen                                                          owe them, usually using your future earnings. If the
                                                                                          court approves your plan, the court will allow you to
                                                                                          repay your debts, as adjusted by the plan, within 3
                 $200      filing fee                                                     years or 5 years, depending on your income and other
+                 $78      administrative fee                                             factors.
                 $278      total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235      filing fee                                                            debts for fraud or defalcation while acting in a
+                 $78      administrative fee                                                    fiduciary capacity,
                 $313      total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge some                                         bankruptcy papers,
debts that are not paid. You are eligible for chapter 13
only if your debts are not more than certain dollar                                              certain debts for acts that caused death or
amounts set forth in 11 U.S.C. § 109.                                                            personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
          Case 24-50893-RMM                      Doc 1      Filed 06/21/24 Entered 06/21/24 16:42:52                           Desc Main
                                                           Document     Page 77 of 77
                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint case,
                                                                                          both spouses must receive the briefing. With limited
                                                                                          exceptions, you must receive it within the 180 days
Bankruptcy crimes have serious consequences                                               before you file your bankruptcy petition. This briefing is
                                                                                          usually conducted by telephone or on the Internet.
       If you knowingly and fraudulently conceal assets
       or make a false oath or statement under penalty of                                 In addition, after filing a bankruptcy case, you generally
       perjury—either orally or in writing—in connection                                  must complete a financial management instructional
       with a bankruptcy case, you may be fined,                                          course before you can receive a discharge. If you are
       imprisoned, or both.                                                               filing a joint case, both spouses must complete the
                                                                                          course.
       All information you supply in connection with a
       bankruptcy case is subject to examination by the                                   You can obtain the list of agencies approved to provide
       Attorney General acting through the Office of the                                  both the briefing and the instructional course from:
       U.S. Trustee, the Office of the U.S. Attorney, and                                 http://www.uscourts.gov/services-forms/bankruptcy/cre
       other offices and employees of the U.S.                                            dit-counseling-and-debtor-education-courses.
       Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
Make sure the court has your mailing address                                              http://www.uscourts.gov/services-forms/bankruptcy/cre
                                                                                          dit-counseling-and-debtor-education-courses.
The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals                                    If you do not have access to a computer, the clerk of
Filing for Bankruptcy (Official Form 101). To ensure                                      the bankruptcy court may be able to help you obtain the
that you receive information about your case,                                             list.
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 4
